Case 1:23-cv-00479-JJM-PAS   Document 49   Filed 01/10/25   Page 1 of 3 PageID #:
                                    691




               Exhibit G
Case 1:23-cv-00479-JJM-PAS              Document 49         Filed 01/10/25   Page 2 of 3 PageID #:
                                               692

 From:           Joshua Mello
 To:             Julia Benevides
 Cc:             Marc DeSisto
 Subject:        Concerns about altered document
 Date:           Wednesday, December 18, 2024 12:01:02 PM
 Attachments:    x1 image proofs.pdf


 Good Day Julia,
 To follow up to your email dated December 15, 2024. We find it disconcerting that we are
 continuing this cat and mouse tails game. We reached out on 12/13/24 in good faith as this
 process is meant to be. The instance here to resolve a glaring and problematic discovery
 documentation Mello Exibit 1, that was produced during Discovery by you on 11/28/24. The
 documents at hand have several notable and serious issues, again of which have not addressed
 or answered "in good faith". We find it hard to understand how direct questions posed in
 simple plain language, are again deemed "unclear". These, along with several other instances
 of bad faith tactics are doing nothing but turn out billable hours for the firm on the backs of
 the cities tax payers at-large.
 We'd like to direct your attention to the document(s) in question. The one(s) labeled Exhibit A
 (Mello) PDF which has/is without a doubt a series of altered and tampered with pages,
 specifically 1-3. Attached is a PDF containing a copy of what these documents look like from
 the lens of a forensic analysis program, call X1 Search which is part of the X1 Discovery
 forensic suite. This software reviews the documents in several manners and displays the
 results as provided. I'd like to think you'd see the seriousness of this altered documentation
 obtained and sent during such a serious legal matter, as well as additional implications and
 compounding questions which arise from such.
 Altering of documents does not prevent accountability or responsibility for the litany of
 unconstitutional and criminal occurrences that have occurred against myself and my wife via
 the Cranston Police, its officers, the city and its law department etc. Furthermore, I can't see
 how certifying and sending altered documents wouldn't be a of a major concern to yourself or
 even Mark for that matter. Again given the serious nature and implication here. Which too are
 compounded with several other notable and serious issues we've brought to your attention only
 to have them go seemingly unaddressed or ignored. Potentially as if plausible deniability
 would be a "defense". Co-extensively, It seems like it would be in "good faith" to seek out and
 produce these originals and even signed documents along for observations and evaluation
 without further undue delay. As it relates to all pages, specifically page one, it should be for a
 true,attested and signed original.
 None of this is acceptable. The Judge had mentioned we were to communicate to resolve
 issues in Discovery. How can we resolve anything if you constantly say things are unclear or
 you do not understand a straightforward question?

 The document in question has the following issues;
 1. Number of Text Blocks: The page contains 21 text blocks. This aligns with multi-segment
 text flow but indicates fragmented or non-continuous content.
 2. Images Embedded: Page 1 contains 20 images. This is notably high for a single page,
 suggesting it involves scanned text overlaid with text extraction.
 3. Multiple Images: The presence of 20 images indicates overlays or redundant layers, which
 are signs of tampering.

 This is outside any OCR (Optical Character Recognition) or Metadata forensic analysis. We've
 performed several different types of forensic analysis. All of which identify in various ways
 the document is altered and heavily modified. This needs to be addresses and it should not be
Case 1:23-cv-00479-JJM-PAS          Document 49        Filed 01/10/25      Page 3 of 3 PageID #:
                                           693

 hindered on whether the officer you are in contact with is away or not. I am sure there is
 someone else that can assist you, given the firms history with the city and department.

 Regards
 Josh Mello

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